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                                         UNITED STATES DISTRICT COURT
                                             DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                    Plaintiff
v.                                                               Case Number 8:04cr511

                                                                 USM Number 19863-047

DEJUAN J. LEONARD
                            Defendant
                                                                 Kristina B. Murphree

                                                                 Defendant’s Attorney
___________________________________

                                        JUDGMENT IN A CRIMINAL CASE
                             (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to counts I, II, III, IV and VI of the Second Superseding Indictment on August 15, 2005.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:


                                                                        Date Offense                   Count
              Title, Section & Nature of Offense                         Concluded                    Numbers


 18:2113(a) and 18:2 Bank Robbery                                  November 5, 2004                         I

 18:924(c)(1)(A)(ii) and 18:2 Use of a Weapon During a             November 5, 2004                        II
 Crime of Violence

 18:2113(a), 18:2113(d) and 18:2 Bank Robbery by Force or          April 13, 2004                          III
 Violence

 18:2113(a), 18:2113(d) and 18:2 Bank Robbery by Force or          April 23, 2004
 Violence                                                                                                 IV

 18:2113(a) Bank Robbery                                           October 20, 2004                       VI

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984 and Booker/FanFan decisions.

The Superseding Indictment and counts V and VII of the second superseding indictment are dismissed on the motion
of the United States as to this defendant only.

Following the imposition of sentence, the Court advised the defendant of his right to appeal pursuant to the provisions
of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such Notice of Appeal must be filed with the
Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of
any material change in the defendant’s economic circumstances.

                                                                                         Date of Imposition of Sentence:
                                                                                                     November 9, 2005


                                                                 s/ Joseph F. Bataillon
                                                                 United States District Judge

                                                                 November 15, 2005
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                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of one hundred eight (108) months on count I and VI; one hundred eight
(108) months on counts III and IV all to run concurrently and eighty-four (84) months on
count II of the second superseding indictment. Count II is to run consecutive to the
sentence on counts I, III, IV and VI.

The Court makes the following recommendations to the Bureau of Prisons:

1.      That the defendant participate in the 500-hour Comprehensive Drug Treatment Program
        or any similar drug treatment program available.

2.      That the defendant be incarcerated in FCI-Sandstone, Sandstone, Minnesota or as
        close to Omaha, Nebraska as possible.

3.      Defendant shall be given credit for time served.

        (X) The defendant is remanded to the custody of the United States Marshal.

                               ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                            RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                    SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of three
(3) years on counts I and VI; five (5) years on counts II, III and IV of the second superseding
indictment; said terms to run concurrent.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well
as with any additional conditions on the attached page.

                          STANDARD CONDITIONS OF SUPERVISION

1.      The defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      The defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The defendant shall support his or her dependents and meet other family responsibilities;
5.      The defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      The defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     The defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     The defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     The defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the court;
13.     As directed by the probation officer, the defendant shall notify third parties of risks that may
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        be occasioned by the defendant’s criminal record or personal history or characteristics and
        shall permit the probation officer to make such notifications and to confirm the defendant’s
        compliance with such notification requirement.


                               SPECIAL CONDITIONS OF SUPERVISION


1.      The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant
        to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for All Act of
        2004), if such sample was not collected during imprisonment.

2.      The defendant shall be subject to the search of the defendant’s premises, vehicle or person, day or
        night, with or without a warrant, at the request of the probation officer to determine the presence of
        alcohol and/or controlled substances, firearms or any other contraband. Any such items found may
        be seized by the probation officer. This condition may be invoked with or without the cooperation of
        law enforcement officers.

3.      The defendant shall attend, pay for and successfully complete any diagnostic evaluations, treatment
        or counseling programs, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
        substance abuse, as directed by the probation officer.

4.      The defendant shall participate in a victim awareness program as directed by the probation officer.
        Based on the defendant’s ability to pay, the defendant shall pay for the costs of the program in an
        amount determined by the probation officer.

5.      The defendant shall not associate with any member, prospect, or associate member of any criminal
        street gang.

6.      The defendant shall pay restitution in the amount of $45,541.00 to the Clerk of the U.S. District Court,
        111 S. 18th Plaza, Suite 1152, Omaha, Nebraska 68102-1322. Restitution shall be paid in accordance
        with the schedule set forth in the “Schedule of Payments” set forth in this judgment. The defendant
        shall be responsible for providing proof of payment to the probation officer as directed.

7.      The defendant is prohibited from incurring new credit charges or opening additional lines of credit
        without prior written approval of the probation officer.

8.      The defendant shall provide the probation officer with access to any requested financial information.

9.      Pursuant to 18 U.S.C. § 3583 (d), the defendant shall submit to a drug test within fifteen (15) days
        of release on supervised release and at least two (2) periodic drug tests thereafter to determine
        whether the defendant is using a controlled substance. Further, the defendant shall submit to such
        testing as requested by any probation officer to detect the presence of alcohol or controlled
        substances in the defendant’s body fluids and to determine whether the defendant has used any of
        those substances. Based on the defendant’s ability to pay, the defendant shall pay for the collection
        of urine samples to be tested for the presence of alcohol and/or controlled substances in an amount
        to be determined by the probation officer.

10.     The defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
        Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha,
        Nebraska, (402) 661-7555, within seventy-two (72) hours of release from confinement, and,
        thereafter, as directed by the probation officer.
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                               CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                        Total Fine                      Total Restitution

              $500.00                                                             $45,541.00

The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or
restitution is paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C.
§ 3612(f). All of the payment options in the Schedule of Payments may be subject to penalties for
delinquency and default pursuant to 18 U.S.C. § 3612(g).


                                                  FINE

          No fine imposed.

                                             RESTITUTION

         Restitution in the amount of $45,541.00 is hereby ordered. The defendant shall make
restitution to the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in
full prior to the United States receiving payment.
                                                                                     Priority Order
                               **Total Amount               Amount of                or Percentage
     Name of Payee                 of Loss              Restitution Ordered           of Payment

 Heartland Area Federal           $35,225.00                 $35,225.00                 Priority
 Credit Union                                                                    Order/Percentage


 TierOne Bank                      $9,912.00                 $9,912.00                  Priority
                                                                                 Order/Percentage

 Shanda Smith                      $300.00                    $300.00                   Priority
                                                                                 Order/Percentage

 Kristah L. Carlson                $104.00                    $104.00                   Priority
                                                                                 Order/Percentage

 Totals                           $45,541.00                 $45,541.00


         **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23,
1996.
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                                              SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, the court orders that payment of the total criminal monetary penalties
shall be due as follows:

         The defendant shall pay the special assessment in the amount of $500.00 immediately .

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal
monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility
Program, are made to the clerk of the court, unless otherwise directed by the court, the probation officer or the United
States attorney.

Following release from incarceration, the defendant shall make payments to satisfy the criminal
monetary penalty in monthly installments of $50 or 5% of the defendant’s gross income, whichever is greater. The
first payment shall commence 60 days following the defendant’s discharge from incarceration, and continue until the
criminal monetary penalty is paid in full. The defendant shall be responsible for providing proof of payment to the
probation officer as directed.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111 S. 18 th Plaza,
Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

The defendant shall inform the probation officer of any change in his or her economic circumstances affecting the
ability to make monthly installments, or increase the monthly payment amount, as ordered by the court. In the event
a defendant is able to make a full or substantial payment toward the remaining criminal monetary penalty, he or she
shall do so immediately.

The defendant is restrained from transferring any real or personal property, unless it is necessary to liquidate and
apply the proceeds of such property as full or partial payment of the criminal monetary penalty.

Restitution is hereby ordered jointly and severally with: Co-defendants Brandon J. Curtis and Jamel A.
Payne and James L. Edwards, in related case #8:05CR194.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) community restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution
and court costs.


CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
